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IN THE DISTRICT COURT OF COMANCHE COUNT€®e 4 Het o's 5 Geun Ot,
STATE OF OKLAHOMA A Cou
UG 16 "Clery

NAZZARENO MIESUD, an individual
PLAINTIFF,

Vv. CJ-2021-60 -

GRAY MEDIA GROUP Inc., d/b/a
KSWO TV, a foreign business entity,

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DEFENDANT. )

APPLICATION FOR EMERGENCY TEMPORARY
RESTRAINING ORDER/INJUNCTIVE RELIEF

COMES NOW, the Plaintiff, and moves this Court for a Temporary
Restraining Order/Injunctive relief. In support of its Motion, Plaintiff states as
follows: |

FACTUAL STATEMENT
1. Plaintiff Nazzareno Mifsud comes to this Court seeking a Temporary
Restraining Order/Inj unctive Releif, restraining and prohibiting the
Defendant from publishing Plaintiff's likeness/picture on their
websites, claiming that Plaintiff was wanted by American law
enforcement authorities for the molestation of a 15 year old and 12
year old boy.

2. Amannamed “Nazzareno Mifsud,” who had beena sergeant in the

United States military (in 1987) stationed at Ft. Sill, Oklahoma, had

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been charged by Lawton, Oklahoma authorities with the sexual
molestation of two (2) boys, one aged 15, and one aged 12.

3. This “Nazzareno Mifsud” fled the United States sometime before his
trial, which was set sometime around June of 1987.

4. This “Nazzareno Mifsud” was arrested by Maltese authorities on or
about August, 2020. (It is believed that this “Nazzareno Mifsud”
resided at times in Malta because prior to 2006, Malta did not have an
extradition policy with the United States.)

5. On or about September 7, 2020, the “Nazzareno Mifsud” who had been
arrested by Maltese authorities in August, 2020, was found hanging by
his necktie in his cell, and was taken to a nearby hospital where he |
died.

6. Onor about September 8, 2020 (and possibly earlier), Defendant
published an article on its stations’ websites, including KSWO, .
wherein it was stated that a “Nazzareno Mifsud” had been captured
and detained in Malta for crimes of sexual molestation of two
underage boys, one 15 and one 12, alleged to have occurred in Lawton,
Oklahoma. See Exhibit 1,

7. Defendant inserted a picture of the Plaintif€, also named “Nazzareno
Mifsud,” that was taken from his Facebook home page, in its article.
See Exhibit 1.

8. On or about September 10, 2021, Plaintiff's daughter, Louise Carauna,

 

 
 

 

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sent an email to Defendant's station KWSO, and informed them that
they had wrongfully placed her father’s picture in the article, and that
the subject of the article, was dead (as reported by KWSO), and that
her father (whose photograph had been ripped from Facebook) was
very much alive. See Exhibit 2. (Plaintiff Nazzareno Mifsud lives in |
Australia, and has never been to the United States of America.)

Even after Defendant.has been served with the Petition, in which it is
stated that the Plaintiff, Nazzareno Mifsud, is a live person, living in
Australia, Defendant has continued to publish the false and
defamatory statement, and present Plaintiff in a false light; even
though they know that the subject of the article is dead, and the man in
the picture, the Plaintiff, is alive (conclusively establishing that the
person in the picture was the wrong one).

To this day, Defendant continues to publish Plaintiff's photograph that
was ripped from Facebook on its website, portraying him as the man
who was charged with the sexual molestation of two underage boys,

one 15 year old, and one 12 year old.

 
 

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ARGUMENT AND AUTHORITY

I. A TEMPORARY INJUNCTION IS WARRANTED AGAINST THE
DEFENDANTS

Title 12 O.S.2011 § 1382, which reads in relevant part:

When it appears, by the petition, that the plaintiff is entitled to the
relief demanded, and such relief, or any part thereof, consists in
restraining the commission or continuance of some act, the
commission or continuance of which, during the litigation, would
produce injury to the plaintiff; or when, during the litigation, it
appears that the defendant is doing, or threatens, or is about to do or is
procuring or suffering to be done, some act in violation of the
plaintiff's rights respecting the subject of the action, and tending to
render the judgment ineffectual, a temporary injunction may be
granted to restrain such act. And when, during the pendency of an
action, it shall appear, by affidavit, that the defendant threatens or is
about to remove or dispose of his property with intent to defraud his
creditors, or to render the judgment ineffectual, a temporary injunction
may be granted to restrain such removal or disposition. It may, also, be
granted in any case where it is specially authorized by statute.

The Court in Tulsa Order of Police Lodge v. Tulsa’ stated that:

There are four criteria courts consider to determine whether to grant a
temporary injunction: "(1) the applicant's likelihood of success on the
merits, (2) irreparable harm to the party seeking relief if injunctive
relief is denied, (3) relative effect on the other interested parties, and
(4) public policy concerns arising out of the issuance of injunctive
relief." Thayne A. Hedges Regional Speech & Hearing Ctr., Inc., v.
Baughman, 1998 OK CIV APP 122, [ 4, 996 P.2d 939, 941 (quoting
Dorchester Hugoton, Ltd. v. Dorchester Master Ltd. Partnership, 1996 OK
CIV APP 60, 5, 925 P.2d 1222,1225).

Plaintiff's makes claims, inter alia, for (1) Defamation, (2) Emotional Distress
(Intentional and Derivative), and (3) False Light/Invasion of Privacy. Plaintiff is

likely to prevail in that:

 

1 See, 2001 OK CIV APP 153, 139 P.3d 152.

 

 
 

 

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(1) Defendant posted Plaintiff's picture in article falsely accusing him
of being a dead child molester; said publication is defamatory and

portrays Plaintiff in a false light;

(2) Irreparable harm is being done to the Plaintiff each day that this
"false, defamatory, and false light article is published, wherein the
article portrays Plaintiff as a current day picture of the dead

accused child molester;

(3) There will be zero effect on the Defendant to withdraw the
Plaintiff's picture;

(4) The public has an interest in protecting the rights and fortunes of a
person who has been falsely accused and portrayed as having
committed the heinous crime of child sexual molestation, by a
callous and indifferent media who continues to publish a false story

even after they know it is false. .

Accordingly, Plaintiff moves this Court to enter a temporary order against the
Defendant, that it cease and desist all publications of Plaintiff’s pictures or

likenesses, regarding Plaintiff Nazzareno Mifsud.
RESPECTFULLY SUBMITTED,

4 veh Legal!

R. TobbeWapvetl, OBA #17784
R. TODD WADDELL LAW

 

 
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TODDWADDELLLAW@LIVE.COM

Attorney for Plaintiff,
NAZZARENO MIFSUD
 

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CERTIFICATE OF DELIVERY

This is to certify that on this day of July, 2021, a true and correct copy of

the above and foregoing pleading was delivered to:

Rudy Heirsche OBA #4183
Hightower Building, Suite 540
105 N. Hudson

Oklahoma City, OK 73102
(405) 235-3123

(405) 235-3142 (H

rudy@hlifokc.com

Attomey for Defendant

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Army ‘Top 10 Most Wanted,’ Lawton fugitive found dead on
eve of extradition for child sex crimes

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Narzareno “Reno” Milsud, 23, was avested in January of 1907 in Lawton after being charged with anc.count of lewd molestation. Hic victim told police Mifsud had
cammitted the act as the victim pretended to be asfeep at a home in the 2300 block of NW Lincoln Avenue. (KSWO}

By Jarrad Burk

Updated: Sep. 8, 2020 at 12:20 PM CDT

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LAWTON, Okla. (TNN} - A wanted fugitive who allegedly committed child sex crimes in Lawton in 1987, and became one of the U.S, Aemy’s Tap 10
Most Wanted, has reportedly been found dead in a Maltese jail ceil on the eve of his extradition to the United States.

Nazzareno “Reno” Milsud was arrested in January of 1987 in Lawton after being chazged with one count of lewd molestation. His 15-year-old victim
told police Mifsud had committed the act as the victim pretended to be asleep at a home in the 2300 block of NW Lincoln Avenue,

A second charge of lewd molestation was later filed against Mifsud for alleged acts committed against his 12-year-ald neighbor in December of 1986.

Mifsud was taken into custody on those charges by Lawton police and released on bond awaiting his triaf which was scheduled for June of 1987, He
fled the United States shortly before the trial and has been a fugitive ever since.

Officials say Mifsud was an American citizen, but believed he had [led to his birth country of Malta due to the Jack of an extradition treaty with the
United States.

At the time the crimes were committed, Mifsud was a Sergeant in the U.S, Army and stationed at Fort Sifl, For that reason, the Army placed him on
their “10 Most Wanted” list and categorized him as Absent Without Leave (AWOL.

In 2006, the U.S. and Malta governments signed a new extradition treaty which went into full eHect in 2009. The treaty provides that “extradition shail
not be refused based solely on the nationality of the person sought” for certain crimes including "sexual exploitation of children and child
pernegraphy,” according to federal documents.

In 2015, U5, Marshals received reliable information that Milsud was fiving in Malta and effarts began to lacate and arrest him, That information
reportedly came to light after Mifsud posted a picture of himself and other information on Facebook.
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Nazzareno “Reno” Mifsud, 23, was arrested in January of 1987 in Lawton after being charged with one count af fewd molestation, His victim told police Mifsud had
committed the act as the victim pretended to be asleep at a home in the 2300 black of NW Lincoln Avenue. {Caurt acs}

Multiple agencies, including the U.S, Embassy in Malta, the Pentagon, the Uniled States Army Criminal investigation Command and the U.S. Marshals
began working to focate and apprehend Mifsud.

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Meanwhile, the Lawton Police Department, Comanche County District Attorney, U.S. Criminal tnvestigation Command and the U.S, Attorney's office far
the Western Oistrict of Oklahoma worked to prepare the necessary documents to request extradition of Mifsud-

In 2017, an extradition request was filed in federal court and sent to officials in Malta, It would be three-and-a-half years before Mifsud would be
arrested in Malta in August of 2020.

Mifsud was set to be extradited back to Oklahoma to face justice, but on Monday, Maltese media reports say Mifsud was found hanging in his jail cell
by a necktie. He was taken to the hospital where he died. .

The U.S, Attomey's office declined to comment on this story.
Fort Sill officials released this statement about the situation:

Despite the fact that more than three decades have possed, we remain committed to working along our great teammates in the local law enforcement
community. We can confirm that Nezzareno Mifsud was assigned to Fort Sill at the time of orraignment and his bonding under civilian criminal court for
misconduct occurring off of the installation. Mifsud went AWOL on May 11, 1987 aad was dropped fram rolis on June 10, 1987. Mifsud was a Sergeant (E-
5) at the time of his AWOL (Absent without official leave) and he had on octive desertion warrant, We are satisfied that our local law enforcement, the US
Army Criminal Investigation Commend, U.S. federal agencies and Maltese authorities worked collaboratively and sa diligently te locate and request
extradition of Mifsud. The allegations against him were upsetting and in no way represent the culture of yatues we imbue on our Soldiers here at Fort Sill
and the Fires Center of Excellence.

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URGENT Removal of incorrect publication
1 message

 

louise Caruana <louise160683@qmail.com> Thu, 10 Sep, 2020 at 10:31 am
To: kmize@kswo.com

To whom this may concern

| am writing regarding the article you have on your web site called “Army "Top most wanted, Lawton fugitive found dead
on eve of extradition for child-sex crimes. ,

I wish to advise that this article has published a picture which is not the offended in question. The picture being used is of
my Father whom us still alive and has ao relation to the offended. My father only shares the same name as the offender.

The picture need to be taken down immediately to prevent any further damages.
if you have any issues please feel free to contact me via email.
Thank you.

Louise Caruana

x.

 
